

People v Peguero (2025 NY Slip Op 02134)





People v Peguero


2025 NY Slip Op 02134


Decided on April 10, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 10, 2025

Before: Kern, J.P., Kennedy, Gesmer, Pitt-Burke, O'Neill Levy, JJ. 


Ind No. 1036/16|Appeal No. 4090|Case No. 2018-2237|

[*1]The People of the State of New York, Respondent,
vAdiel Peguero, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Mark W. Zeno of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Sarah Lubin of counsel), for respondent.



Judgment, Supreme Court, New York County (Ellen N. Biben, J.), rendered June 30, 2017, convicting defendant, upon his plea of guilty, of criminal possession of a controlled substance in the second degree, and sentencing him to a term of 3½ years, unanimously affirmed.
Defendant's waiver of his right to appeal was invalid. Among other things, the court failed to confirm on the record that defendant understood the rights he was waiving (see People v Bradshaw, 18 NY3d 257, 265 [2011]). However, based on our review of the record, and "our in camera review [of the sealed or redacted portions of] the search warrant application, the police officer's supporting affidavit, and the testimony of both the officer and the confidential informant before the. . .court" (see People v Holmes, 235 AD3d 435 [1st Dept 2025]), "we find no basis to controvert the search warrant at issue or to grant any other relief" (People v Jenkins, 200 AD3d 541, 541 [1st Dept 2021], lv denied 38 NY3d 1071 [2022]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 10, 2025








